USCA Case #25-5130         Document #2125341             Filed: 07/14/2025    Page 1 of 2



                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5130                                                September Term, 2024
                                                                     1:25-cv-00511-CRC
                                                      Filed On: July 14, 2025
In re: U.S. DOGE Service, et al.,

             Petitioners


      BEFORE:       Henderson, Wilkins, and Childs, Circuit Judges

                                        ORDER

        Upon consideration of the Supreme Court’s order and judgment granting the
petition for certiorari, vacating this court’s May 14, 2025, order, and remanding for
further consideration; the petition for writ of mandamus, the opposition thereto, and the
reply; the motion for stay, the opposition thereto, and the reply; and the motion for
summary disposition, the opposition thereto, and the reply, it is

       ORDERED that the mandamus petition be granted in part and denied in part.
The petition is granted to the extent that the district court’s April 15, 2025, order
requires petitioners to serve responses and objections to Interrogatories Nos. 6 and 8
and Requests for Admission Nos. 2, 4, 6, 8, and 10. The district court is directed to
modify its April 15 order to exclude those interrogatories and requests. In all other
respects, the petition is denied.

       The Supreme Court determined that “[t]he portions of the District Court’s April 15
discovery order that require the Government to disclose the content of intra–Executive
Branch USDS recommendations and whether those recommendations were followed
are not appropriately tailored.” U.S. DOGE Serv. v. CREW, 145 S. Ct. 1981, 1982
(2025). The Court explained that “[a]ny inquiry into whether an entity is an agency for
the purposes of the Freedom of Information Act cannot turn on the entity’s ability to
persuade,” and that “separation of powers concerns counsel judicial deference and
restraint in the context of discovery regarding internal Executive Branch
communications.” Id. The Court’s order directed this court to “take appropriate action
to narrow the April 15 discovery order consistent with [the Court’s] order.” Id.

        In moving for summary disposition, respondent has withdrawn the discovery
requests that pertain to “recommendations” made by U.S. DOGE Service employees
and others—specifically, Interrogatories Nos. 6 and 8 and Requests for Admission Nos.
2, 4, 6, 8, and 10. Excluding those interrogatories and requests will narrow the district
court’s April 15 discovery order consistent with the Supreme Court’s order. Petitioners’
arguments in opposition to the summary disposition motion do not otherwise alter this
court’s conclusions in previously denying mandamus relief. It is
USCA Case #25-5130        Document #2125341             Filed: 07/14/2025      Page 2 of 2



                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________
No. 25-5130                                               September Term, 2024


       FURTHER ORDERED that the administrative stay entered on April 18, 2025, be
dissolved, and the motion for stay be dismissed as moot.

      Pursuant to D.C. Circuit Rule 36, this disposition will not be published.


                                      Per Curiam


                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Selena R. Gancasz
                                                        Deputy Clerk




                                         Page 2
